Case 1:15-cv-OO495-RDB Document 103 Filed 11/30/16 Page 1 of 2

IN THE UNlTED STATES DlSTRICT COURT
FOR THE DISTRICT OF l\'[ARYLAND

 

 

 

Lawrence I\/li|ls *
Plaintiff,
>'¢
v. Case No. RDB'15495
ir
|V|ary|and Live, ET AL
Defendant. *

MOTION FOR ADMISSION PRO HAC VICE
I, Abraham F' Carplo . am a member in good standing of the bar of this

Court. l am moving the admission of Robert Nerses'an

to appear pro hac vice in this case as counsel for Lawrence M'HS

We certify that:

l. The proposed admittee is not a member of the Maryland bar and does not maintain
any law office in Maryland

2. The proposed admittee is a member in good standing of the bars of the following
State Couits and/or United States Courts:

 

State Court & Date of Admission U.S. Court & Date ofAdmission
State Court of Nevada U.S. District Court of Nevada
Date of Admission: 10/10/1986 Date of Admission: 02/'|2/1988

 

 

 

3. During the twelve months inmiediately preceding this motion, the proposed admittee
has been admitted pro hac vice in this Couit 0 times.

4. The proposed admittee has never been disbarred, suspended, or denied admission to
practice law in any jurisdictionl (NOTE: H" the proposed admittee has been
disbarred, suspended, or denied admission to practice law in any jurisdiction, then
he/she must submit a statement fully explaining all relevant facts.)

5. The proposed admittee is familiar with the Maiyland Lawyers’ Rules of Professional
Conduct, the Federal Rules of Civil Procedure, the Federal Rules of Evidence, the
F.ederal Rules of Appellate Procedure, and the Local Rules of this Court, and
understands lie/she shall be subject to the disciplinary jurisdiction of this Court.

[’l'lVMn¢lon (09/20|6) Page l 0f`2

Signature

Case 1:15-cv-OO495-RDB Document 103 Filed 11/30/16 Page 2 of 2

6. The proposed admittee understands admission pro hac vice is for this case only and
does not constitute formal admission to the bar of this Court.

7. Either the undersigned movant or

is also a member of the bar of this Court in good standing, and will serve as co-

counsel in these proceedings

8. The $100.00 fee for admission pro hac vice accompanies this motion.

9. We hereby certify under penalties of perjury that the foregoing statements are true

and con~ect.

MOVANT

5§__.¢».-.-.;»`<:`.'_.”.--<.,...........,....r....--~»/

 

P~b¢`€~\/\o`w\"i:. Coirp'\© :WZS\\\G
Printed name and bar number

 

CO\(`{_>`\O LO\LU 'i:'\\”W\
Office name

 

3?>\ \/\`c>\e cio 'Te.rmoz a- %20\ , qu'ttet'».\\e,
Address `

 

mr"\>'\ o\cwo @, c:\vv\ot`»\. com
Email Address

 

(BO\\ 550\~ R\oo
Telephone number

 

ra<>\\ ssa» a\ ot
Fax Number

 

PlIVMol’.cn (09/2016)

l

  

P ' ED ADMITTEE `

  

 

lIignature l

Ro\oer`i' \Je\"§€,%\ ~'\), \N ‘?\c\ra: ’9~’1§¢9`
Printed name and bar miinb er

NLK$LS`\¢LA § 3 O~"\C.<QLD`\Q_B

Offlce name

523 5. €>'W\ €>T` L,o\§ \Jec\ctg , M\) €'>C\\o\
Address

ve O\O\f>\tc\ot\ @ 0\0\. com
EmailJAddre`S)s

C‘to 23 ~z>s§ ~ 5a '5 vt
Telephone number

(=10:)_§ 385~%9<1-

Fax Number

 

page 2 0[2

